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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

JOHN MCCOTTRELL,                    )
                                    )
            Plaintiff,              )     Case No. 15-cv-7362
                                    )     Judge Amy J. St. Eve
            v.                      )     Magistrate Judge Sheila M. Finnegan
                                    )
TARRY WILLIAMS, S.A. GODINEZ        )
Unknown Jane and John Doe’s,        )
                                    )
            Defendants.             )
______________________________________________________________________________

    DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES, AND JURY DEMAND
                    TO PLAINTIFF’S COMPLAINT

       NOW COME the Defendants, TARRY WILLIAMS and S.A. GODINEZ, by and through

their attorney, LISA MADIGAN, Attorney General of Illinois, and hereby answer and plead their

Affirmative Defenses to Plaintiff’s Complaint as follows:

                                               I
                                    Jurisdiction and Venue

        1.      This is a civil action authorized by 42 U.S.C. §1983 to redress deprivations under
color of State law of rights secured by the Constitution of the United States. This Court has
jurisdiction under 28 U.S.C. §1331 and 1343 (a)(B). Plaintiff seeks declaratory relief pursuant to
28 U.S.C. §2201 and 2202. Plaintiff also seeks injunctive relief authorized by 28 U.S.C. §2283,
2284 and Rule 65 of the Federal Rules of Civil Procedure.

ANSWER: Defendants admit that Plaintiff purports to bring an action for violation of his
Eighth Amendment rights, and that Defendants were acting under color of law. Defendants
deny the remaining allegations of paragraph 1.

       2.      The Northern District of Illinois Eastern Division is an appropriate venue under
28 U.S.C. §1391 (D)(2) because Stateville Correctional Center, in Will County, Illinois is where
the events giving rise to this complaint occurred.

ANSWER: Defendants admit venue is proper.
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                                                  II.
                                               Plaintiff

         3.       Plaintiff John McCottrell, is at all times mentioned herein, is in the custody of the
Illinois Department of Corrections. He is currently confined at Stateville Correctional Center in
Joliet, Illinois.

ANSWER: Defendants admit that Plaintiff is in the custody of the Illinois Department of
Corrections. Defendants deny the remaining allegations set forth in paragraph 3.

                                                 III.
                                             Defendants

         4.     Defendant, Tarry Williams, is at all times mentioned herein, is the Warden at
Stateville Correctional Center. He is legally responsible for the day to day operations at said
facility. He is being sued in his individual and official capacities.

ANSWER: Defendants admit that Defendant Williams was the Warden and Chief
Administrative Officer at Stateville Correctional Center from April 1, 2014 to July 2015.
Defendants admit that Plaintiff purports to bring this action against Defendant Williams in his
individual and official capacities but deny that he is liable to Plaintiff. Defendants deny the
remaining allegations in paragraph 4.

         5.     Defendant S.A. Godinez, is at all times mentioned herein, the Director of the
Illinois Department of Corrections. He is legally responsible for the Department and each of the
institutions under its jurisdiction including Stateville. He is being sued in his individual and
official capacities.

ANSWER: Defendants admit that Defendant Godinez was the Director of the Illinois
Department of Corrections from May 2, 2011 through December 31, 2014. Defendants admit
that Plaintiff purports to bring this action against Defendant Godinez in his individual and
official capacities but deny that he is liable to Plaintiff. Defendants deny the remaining
allegations in paragraph 5.

       6.     Defendants Unknown Jane and John Does are at all times mentioned herein,
employees of the Illinois Department of Corrections assigned to various positions at Stateville
Correctional Center. They are being sued in their individual and official capacities.

ANSWER: Defendants do not provide a response to paragraph 6, as the Unknown Jane
and John Doe Defendants were dismissed by this Court during the preliminary 1915A
review. To the extent a response is required, Defendants lack knowledge or information
sufficient to form a belief as to the truth of the allegations in paragraph 6.

                                                 IV
                                                Facts



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        7.     On October 17, 2014, plaintiff wrote a grievance regarding the deplorable living
conditions he has been subjected to Stateville. Plaintiff alleged that the roach infestation,
insanitary showers, broken windows, lack of cleaning supplies and other deplorable living
conditions add up to create an overall effect in violation of the Eight Amendment (See grievance
attached hereto as exhibit [sic]

ANSWER: Defendants admit that plaintiff attached to his complaint a grievance that
purports to be dated October 17, 2014 complaining of his conditions of confinement.
Defendants deny the remaining allegations set forth in paragraph 7.

                                                  V.
                                     Exhaustion of Legal Remedies

        8.      Plaintiff used the grievance procedures available to him at Stateville Correctional
Center to try and remedy the issues presented in this complaint. For every unfavorable response
plaintiff received he appealed said decision. (See responses attached hereto as exhibit [sic]

ANSWER: Defendants admit that plaintiff attached to his complaint a grievance that
purports to be dated October 17, 2014 complaining of his conditions of confinement.
Defendants further admit that Plaintiff attached to his complaint a memorandum that
purports to be dated December 15, 2014 from the Illinois Department of Corrections
returning a grievance filed by Plaintiff. Defendants deny the remaining allegations set forth
in paragraph 8.

                                                   VI.
                                               Legal Claims

                                               Count I
                                      Inhumane Living Conditions

       9.      Plaintiff reallege [sic] and incorporates by reference paragraphs 1-8.

ANSWER: Defendants restate their answers to paragraphs 1-8 as if set forth fully herein.

       10.    The totality of the inhumane and unsanitary living conditions at Stateville
Correctional Center add up to create an overall effect that is in violation of the cruel and unusual
punishment doctrine of the Eight Amendment.

ANSWER: Defendants deny the allegations set forth in paragraph 10.

       11.    Excessive bail shall not be required nor excessive fines imposed, nor cruel and
unusual punishments inflicted U.S. Constitution Amendment VIII.

ANSWER: There are no allegations contained in this paragraph. To the extent Plaintiff is
alleging that Defendants violated any Constitutional or statutory rights, the allegations are
denied.

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        12.    To challenge prison conditions using the 8th Amendment you must meet both the
objective and subjective requirements. Farmer v. Brennan, 511 U.S. 825 (1994); Wilson v.
Seiter, 501 U.S. 294 (1991).

ANSWER: There are no allegations contained in this paragraph. To the extent Plaintiff is
alleging that Defendants violated any Constitutional or statutory rights, the allegations are
denied.

       13.    To meet the objective standard you need to show that you were deprived of a
basic human need or exposed to serious harm. Wilson, 501 U.S. at 298.

ANSWER: There are no allegations contained in this paragraph. To the extent Plaintiff is
alleging that Defendants violated any Constitutional or statutory rights, the allegations are
denied.

       14.   Under the subjective part of the test you must show that the prison official you are
suing knew you were being deprived or harmed and did not respond reasonably. Id. at 299.

ANSWER: There are no allegations contained in this paragraph. To the extent Plaintiff is
alleging that Defendants violated any Constitutional or statutory rights, the allegations are
denied.

       15.    Only those deprivations denying, “the minimal civilized measures of lifes [sic]
necessities…are sufficiently grave to form the basis of an Eight Amendment violation. [sic]
Rhodes v. Chapman, 452 U.S. 337, 347(1981).

ANSWER: There are no allegations contained in this paragraph. To the extent Plaintiff is
alleging that Defendants violated any Constitutional or statutory rights, the allegations are
denied.

        16.    Dilapidated housing units, contaminated water supply, infestation of vermin,
insects and over crowding combine to create a totality of conditions indicate genuine issues as to
deprivation of basic human needs. William v. Griffin, 952 7.2d 820, 825-26 (4th Cir 1991).

ANSWER: There are no allegations contained in this paragraph. To the extent Plaintiff is
alleging that Defendants violated any Constitutional or statutory rights, the allegations are
denied.

                                         SubCount A.
                                   Dilapidated Housing Unit

       17.     The living units known as “Bravo, Charlie, Delta, and Edward House,” consist of
only one individual building, however they are divided into four living units.

ANSWER: Defendants admit the allegations set forth in paragraph 17.

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        18.    Plaintiff currently housed in Delta house which is unsafe due to the substantial
risk of complete and/or partial collapse.

ANSWER: Defendants deny the allegations set forth in paragraph 18.

       19.     The structure of Delta, Bravo, Charlie and Edward house consist of a brick
building which is supported by sixty-four colums [sic] and a cement mixture, which establishes
the foundation. The support colums [sic] are over five stories high, which connect the
foundation to the buildings [sic] roof.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the
truth of the allegations set forth in paragraph 19.

       20.     All sixty four support columns are visibly deteriorating with multiple cracks from
the foundation extending all the way up to the roof, which threatens to crumble and break away.

ANSWER: Defendants deny the allegations set forth in paragraph 20.

        21.    Not only are all sixty four support columns cracked from the foundation to the
roof, but the wall of bricks between the various support columns are deteriorating as well. One
inch gaps with no filler or cement can be seen in plain view.

ANSWER: Defendants deny the allegations set forth in paragraph 21.

        22.    Because of the deteriorating foundation and support columns the entire building
has shifted and leans slightly placing plaintiff at a substantial risk of imminent personal injury or
death.

ANSWER: Defendants deny the allegations set forth in paragraph 22.

       23.    Furthermore, several other structures around Stateville have deteriorating
foundations and walls that need to be fixed.

ANSWER: Defendants deny the allegations set forth in paragraph 23.

                                        Sub Count B
                                  Contaminated Water Supply

      24.    Stateville has a wretched history of supplying contaminated water to its
employees and inmates.

ANSWER: Defendants deny the allegations set forth in paragraph 24.

       25.      The contaminated water supply at Stateville is for inmate drinking and for the
cooking of all foods prepared by the kitchen.

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ANSWER: Defendants deny the allegations set forth in paragraph 25.

        26.    Stateville’s water supply consists of excessive amounts of microbiotic
contaminants such as viruses and bacteria, inorganic contaminants, such as salts metals,
pesticides and herbicides, such as various water runoffs, organic chemical contaminants,
including synthetic and volatile organic chemicals; which are by products of industrial processes,
petroleum production and radioactive contaminants.

ANSWER: Defendants deny the allegations set forth in paragraph 26.

        27.     One specific contaminant in the water at Stateville is radium. When water
containing radium is ingested a portion of the radium may remain in the bones. Radiation given
off from the radium due to its high energy can cause damage to the surrounding tissue. A dose
of 5 p.c./1 ingested over an extended period of time may result in the development of bone
cancer.

ANSWER: Defendants deny the allegations set forth in paragraph 27.

        28.    Another contaminant in Statevilles [sic] water supply are Alpha Emitters, which
are erosions of natural deposits and is also a cancerous element. Excessive levels of lead and
copper can be found in the water supply as well.

ANSWER: Defendants deny the allegations set forth in paragraph 28.

        29.     These same bacteria and contaminants found in the water supply at Stateville are
being utilized by dietary in the preparation of foods and drinks that are consumed on a daily
basis by plaintiff

ANSWER: Defendants deny the allegations set forth in paragraph 29.


                                           Sub Count C
                                    Vermin and Insect Infestation

       30.    Birds are allowed to fly freely throughout the various living units and cafeteria
dropping feces while simultaneously chirping and singing very loud in the early morning hours.

ANSWER: Defendants deny the allegations set forth in paragraph 30.

        31.     Wild birds carry various communicable diseases, through the birds themselves as
well as through their feces, such as bird flu, fungi, lice, mites, parasites, spores and various
toxins, all of which can cause varying human bodily injuries.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the
truth of the allegations in paragraph 31.

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      32.     The bird population presents a disease risk from organisms that grow in the
accumulation of bird droppings.

ANSWER: Defendants deny the allegations set forth in paragraph 32.

       33.     There are several fungal diseases from bird droppings such as:

               a. Histoplasmosis – This disease is transmitted to humans by airborne spores.
               b. Psittacosis – A rare infection characterized by fatigue, fever, headache, rash,
                  chills, and sometimes pneumonia.
               c. Alvealitus – Contracted by inhaling particles of bird dander
               d. Avian Influenza – Transmitted by coming in contact with infected bird fecal
                  matter.
               e. Campylobacteriosis – Bacterial infection that causes gastrointestinal
                  problems.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the
truth of the allegations in paragraph 33.

      34.     Plaintiff also avers that there is a vermin infestation that is not controlled at all
where mice roam in and out of cells regularly on a daily basis

ANSWER: Defendants deny the allegations set forth in paragraph 34.

       35.     There are massive infestations of roaches and spiders and other bugs that are in
inmates [sic] cells and the shower area.

ANSWER: Defendants deny the allegations set forth in paragraph 35.

        36.    Defendants have been made aware of the birds vermin and pest but have failed to
correct the problem.

ANSWER: Defendants deny the allegations set forth in paragraph 36.

                                              Sub Count D
                            Unsanitary Cells, Showers and Leaking Ceilings

       37.    Many of the individual cells at Stateville, plaintiffs included, are dirty and
unsanitary, where adequate cleaning supplies are not distributed daily and/or on a regular basis to
maintain cleanliness.

ANSWER: Defendants deny the allegations set forth in paragraph 37.

        38.    Dust is one of the most produced element in any household. The amount of dust
and dirt flowing from cell to cell has produced dust mites, which reproduce by the millions.

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ANSWER: Defendants deny the allegations set forth in paragraph 38.

         39.    The failure to provide adequate cleaning supplies, where the cells are dirty and
dirt is on the walls and floor, it creates breeding grounds for dust mites, as well as other disease
causing micro-organisms.

ANSWER: Defendants deny the allegations set forth in paragraph 39.

         40.    Once a week plaintiff is afforded the opportunity to obtain disinfectant to clean
his cell. Said disinfectant is placed in a mop bucket. Plaintiff must provide his own container
for the disinfectant if he wants to clean his cell throughout the week.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the
truth of the allegations in paragraph 40.

        41.      Moreover the mop bucket of disinfectant is supposed to supply all 29 cells on
plaintiffs [sic] gallery but never does.

ANSWER: Defendants deny the allegations set forth in paragraph 41.

         42.     Plaintiff has made the defendants aware of the lack of cleaning supplies and they
still have not taken corrective measures to subdue the filth and unsanitary cells.

ANSWER: Defendants deny the allegations set forth in paragraph 42.

       43.     The inmate showers in the living units are hazardous because colonies of toxic
green, white and black mold are allowed to grow in, on and behind the bath tiles.

ANSWER: Defendants deny the allegations set forth in paragraph 43.

        44.    The side effects of toxic mold on a human beings health are lengthy. The most
dangerous side effects include chronic delays/delayed reactions and these result from almost
daily exposure building up over time and can range from neurological damage to the risk of
cancer from exposure to certain mold toxins in the air and water.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the
truth of the allegations set forth in paragraph 44.

       45.    Again the defendants have not attempted to serious [sic] abate the mold growth in
the inmate showers.

ANSWER: Defendants deny the allegations set forth in paragraph 45.

       46.   Water leaks within the ceilings of the various buildings around Stateville where a
massive amount of mold is produced. Roofs that leak include


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       A.      Gym                                   F.      Commissary
       B.      Bravo house                           G.      Law/General Library
       C.      Charlie house                         H.      School Building
       D.      Delta house                           I.      Frank house
       E.      Edward house                          J.      Personal Property

ANSWER: Defendants deny the allegations set forth in paragraph 46.

       47.     Furthermore, the roof in the clothing room collapsed due to years of leaks and
disrepair.

ANSWER: Defendants deny the allegations set forth in paragraph 47.

       48.     The roofs of all these buildings have fallen on staff and inmates. In some
buildings, layers upon layers of mold are located within the ceiling and the items below them.

ANSWER: Defendants deny the allegations set forth in paragraph 48.

       49.    The defendants knew of these hazards throughout all these buildings, however
they have not made any real attempts to fix these leaks and mold problems.

ANSWER: Defendants deny the allegations set forth in paragraph 49.

       50.     Plaintiff has no plain, adequate or complete remedy at law to redress the wrongs
described herein. Plaintiff has and will continue to be irreparably injured by the conduct of the
defendants unless this court grants the declaratory and injunctive relief which plaintiff seeks.

ANSWER: Defendants deny the allegations set forth in paragraph 50.


                                                  VII
                                            Prayer for Relief

               Wherefore plaintiff respectfully pray that this court enter judgment

ANSWER: The Defendants deny that the Plaintiff is entitled to any type of relief
whatsoever.

        51.    Grant plaintiff a declaration that the acts and omissions described herein violate
his rights under the constitution and laws of the United States, and

ANSWER: The Defendants deny that the Plaintiff is entitled to any type of relief
whatsoever.




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        52.    A preliminary and permanent injunction barring plaintiff from being housed at
Stateville Correctional Center until the conditions of confinement discussed in this complaint are
rectified;

ANSWER: The Defendants deny that the Plaintiff is entitled to any type of relief
whatsoever.

      53.    Compensatory damages in the amount of five thousand dollars (5,000.00) per
each Defendant;

ANSWER: The Defendants deny that the Plaintiff is entitled to any type of relief
whatsoever.

      54.      Punitive damages in the amount of eight thousand dollars (8,000.00), per each
Defendant;

ANSWER: The Defendants deny that the Plaintiff is entitled to any type of relief
whatsoever.

        55.    Damages for physical and mental suffering in the amount of eight thousand
dollars (8,000.00) per each Defendant;

ANSWER: The Defendants deny that the Plaintiff is entitled to any type of relief
whatsoever.

       56.     Plaintiff also seeks a jury trial on all triable issues by jury.

ANSWER: The Defendants deny that the Plaintiff is entitled to any type of relief
whatsoever.

       57.     Plaintiff also seeks recovery of cost in this suit, and

ANSWER: The Defendants deny that the Plaintiff is entitled to any type of relief
whatsoever.

       58.     Any additional relief this court deems just, proper, and equitable.

ANSWER: The Defendants deny that the Plaintiff is entitled to any type of relief
whatsoever.

                                       GENERAL DENIAL

       Defendants deny each and every allegation not specifically admitted herein.

                                  AFFIRMATIVE DEFENSES


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         NOW COME Defendants, by their attorney LISA MADIGAN, Attorney General for
Illinois, to plead the following Affirmative Defenses.

                               AFFIRMATIVE DEFENSE NO. 1
                                    Qualified Immunity

       1.      At all times relevant herein, Defendants acted in good faith and in furtherance of

lawful objectives without violating Plaintiff’s clearly established statutory or constitutional rights

of which a reasonable person would have known. Defendants are therefore protected from suit

by the doctrine of qualified immunity.

                               AFFIRMATIVE DEFENSE NO. 2
                                    Personal Involvement

       1.      Defendants’ personal involvement has not been established with sufficient

specificity to state a claim upon which relief can be granted.

                               AFFIRMATIVE DEFENSE NO. 3
                                 Prison Litigation Reform Act

       1.      Plaintiff’s claims are governed by the Prison Litigation Reform Act (“Act”), 42

U.S.C. § 1997 et seq. See Dale v. Lappin, 376 F. 3d 652, 655 (7th Cir. 2004).

       2.      Plaintiff failed to exhaust his administrative remedies as required by the Act at 42

U.S.C. § 1997(e)(a); see also Dale, 376 F. 3d at 655.

       3.      To the extent the Plaintiff seeks compensation for emotional injuries, the Act

provides that no Federal civil action may be brought by a prisoner confined in jail, prison, or

other correctional facility, for mental or emotional injury suffered while in custody without a

prior showing of physical injury. 42 U.S.C. § 1997e(e).

                                         JURY DEMAND

       Defendants demand a trial by jury on all issues herein triable.




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                                             Respectfully submitted,



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